UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

 

GAINESVILLE DIVISION
MAMA BEARS OF FORSYTH
COUNTY, et al.,
Plaintiffs,
Case No. 2:22-cv-00142-RWS
Vv.

WESLEY MCCALL, et al.,

Defendants.

 

 

CONSENT JUDGMENT AND INJUNCTION
As part of the Parties’ settlement of this matter, the Parties agreed to
request the Court enter the following order, which the Court finds
appropriate and consistent with the Court’s prior order issuing a preliminary
injunction (ECF No. 50). Accordingly, it is hereby ORDERED, ADJUDGED,
and DECREED that:
1. The Court enters judgment against Defendant Forsyth County
School District (the “District” or “FCS”) as follows:

a. The Court permanently enjoins the District, its officers, school
board members, agents, servants, employees, and all persons in
active concert or participation with them who receive actual
notice of this injunction from enforcing any current or future FCS

public participation policy to prohibit Plaintiffs, or any other
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speakers entitled to speak at an FCS school board meeting, from
reading or quoting verbatim from the text of any book or written
works available in any FCS library or classroom, while
addressing the school board during the public-comment period at
school board meetings.

. The Court also permanently enjoins the District, its officers,
school board members, agents, servants, employees, and all
persons in active concert or participation with them who receive
actual notice of this injunction from enforcing the respectfulness
requirement, the restriction on personally addressing Board
members, including the Superintendent, or any restriction on
profane, uncivil or abusive remarks contained in the FCS’ current
public participation policy or any substantially comparable
provision in a future FCS policy.

. This injunction is binding on the District, its Board of Education,
their successors, agents, attorneys, and assigns, and all those in
active concert or participation with them.

. This injunction takes effect immediately and remains in effect
indefinitely, unless it is modified by order of the Court, the
agreement of all parties, there is some other binding change in
the law, or if FCS’s public participation policy is repealed and not
replaced.

. This injunction does not prevent the District or its Board from

amending the FCS public participation policy or issuing further
implementing regulations consistent with this injunction, but will
remain in effect after any such amendment or issuance.

d. The injunction resolves the need for the Court’s prior preliminary
injunction Order (ECF No. 50) and said Order is hereby vacated
as moot and dissolved.

e. Plaintiffs are each awarded nominal damages in the amount of
$17.91 payable by check made out directly to each Alison Hair
and Cindy Martin individually and delivered to them by FCS, or
its insurer, within 21 days of this order;

f. Plaintiffs’ counsel are entitled to costs and fees under 42 U.S.C. §
1988 in an amount to be determined by this Court if the Parties
are unable to reach agreement;

g. Plaintiffs’ fee request, with supporting evidence, is to be filed
within 30 days of this order unless the parties are able to agree to
a stipulated amount;

h. Plaintiffs may also submit a bill of costs at that time;

i. Defendants will respond to the fee request 14 days after
Plaintiffs’ filing;

j. Plaintiffs will be entitled to an optional reply brief due seven
days later; and

k. The Court takes notice of the attached settlement agreement,
which the parties are directed to execute within five days after
entry of this order.

2. The Court dismisses all claims against Defendants Wesley McCall,
Kristin Morrissey, Tom Cleveland, Lindsey Adams, and Darla Light, with

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prejudice, and without any further costs to any party, except as pertaining to
defendant FCS, as specified above.

3. Following the entry of this Consent Decree and Permanent Injunction
and this Court’s determination of the fees motion, the Court directs the Clerk
of Court to administratively close this case.

4. The Court will retain jurisdiction to enforce or modify this Consent

Judgment and Permanent Injunction.

IT IS SO ORDERED on January F7, 2023.

 
   
   

ICHAR . STORY
UNITED STATES DISTRIC? JUDGE

Respectfully submitted,

Dated: January 30, 2023

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